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AMERICAN ARBITRATION ASSOCIATION
AAA No.: 01-19-0001-3018

MATTHEW SWAIN,

                      Claimant,

     v.

HERMÈS OF PARIS, INC. and LORENZO
BAUTISTA,

                      Respondents.




MEMORANDUM OF LAW IN SUPPORT OF RESPONDENTS’ MOTION TO DISMISS
                  THE STATEMENT OF CLAIM




                                          August 5, 2019

                                          Lawrence R. Sandak
                                          Edna D. Guerrasio
                                          PROSKAUER ROSE LLP
                                          One Newark Center, 18th Floor
                                          Newark, New Jersey 07102-5211
                                          Tel. (973) 274-3200
                                          Fax. (973) 274-3299
                                          lsandak@proskauer.com
                                          eguerrasio@proskauer.com
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                                PRELIMINARY STATEMENT

       Claimant Matthew Swain’s right to assert any claim in arbitration expired long ago. His

discrimination claim accrued, at the latest, on the day his employment was terminated,

November 6, 2015. His filing deadline under the Dispute Resolution Agreement (“DRA”) he

agreed to with Hermès of Paris allowed him, at most, two years, by reference to the New Jersey

Law Against Discrimination’s (“NJLAD”) limitations period, or until November 6, 2017, to file

for arbitration. His claim in arbitration was filed on April 26, 2019 – at least one year and five

months too late. There is no basis for tolling or for equitably extending the contractual

limitations period. On the face of the relevant pleadings, therefore, Swain’s entire claim must be

dismissed as untimely.

                               PROCEDURAL BACKGROUND

       Swain was employed by Hermès for approximately three months, from July 31, 2015

until November 6, 2015. (Ex. A p. 2, 8.) On August 28, 2015, Swain entered into the DRA

requiring the parties to resolve any disputes arising under the DRA through binding arbitration,

unless earlier resolved through internal discussions or mediation. (Ex. B.) The DRA states that:

“either [Swain] or [Hermès] may initiate final and binding arbitration within six months

after [Swain] or [Hermès] become aware, or should have reasonably become aware, of the facts

giving rise to the dispute, unless the dispute arises under a law that provides an alternate

filing period, in which case such period shall apply.” (Id. at 2.)

       The arbitration is to be “held in [the] City, State and County of New York” in accordance

with the AAA Employment Arbitration Rules. (Id.) The DRA states that the parties must

arbitrate “all legal and equitable claims… of whatever nature or kind, whether in contract, tort,

under statute or regulation, or some other law, between [Swain] and [Hermès]… arising out of or

related to: (i) the terms and conditions of [Swain’s] employment with, or separation from
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[Hermès]…; (v) claims arising from or related to alleged discrimination, harassment, or

retaliation in employment (including, but not limited to,… sexual orientation…) under any

federal, state and/or other governmental law, statute, regulation, and/or ordinance.” (Id. at 5.)

        The DRA further provides that “New York law shall apply to this agreement.” (Id. at 3.)

        Swain signed the DRA on August 28, 2015 under the words: “Please sign below to accept

this agreement. Your signature means that you have read this agreement, understand it and are

voluntarily entering into it.” (Id. at 4.)

        Eight months after the termination of his employment, Swain’s counsel threatened to file

a lawsuit against Hermès. (Ex. C.) Hermès responded by providing a copy of the DRA to

Swain’s counsel and reminding Swain, through his counsel, that he was required to resolve any

employment dispute under the DRA. Swain’s lawyer baselessly asserted that the DRA did not

apply to Swain’s discrimination claim because the DRA “makes no mention of anti-

discrimination laws”; Swain “never agreed to any alternate dispute resolution of his [NJ]LAD

claims”; and that “[t]he NJ Superior Court is where his [NJ]LAD] claims will be decided

pursuant to his constitutional right to a jury trial.” (Id.)

        On July 19, 2016, Hermès commenced a mediation with Swain at the AAA under the

terms of the DRA. (Ex. D.) In response, and on the same day, Swain filed a complaint in the

Superior Court of New Jersey, Essex County, against respondents in this arbitration, Hermès and

Lorenzo Bautista. (Ex. A.) Swain, through counsel, also advised the AAA that “absent a court

order to the contrary, we are not party to this purported mediation.” (Ex. E.)

        The Superior Court complaint asserted claims of discrimination, hostile work

environment and retaliation under the NJLAD against Hermès and Bautista, as well as breach of

contract against Hermès, all arising out of Swain’s employment. (Ex. A.) Because Swain was

unwilling to resolve his dispute in accordance with the DRA, on August 5, 2016, Hermès filed a

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petition to compel arbitration of Swain’s claims under the Federal Arbitration Act (“FAA”) in

the United States District Court for the Southern District of New York. (Ex. F.) Swain filed an

opposition, but failed to offer any admissible evidence to challenge the validity of the DRA or

that its scope encompassed Swain’s claims in the Superior Court action. (Ex. G.) On September

13, 2016, Chief Judge Colleen McMahon granted Hermès’ petition and compelled Swain to

arbitrate any dispute he had with Hermès. (Ex. H.) Judge McMahon observed in her written

decision that Swain’s “argument that he needs discovery to ascertain the validity of his own

consent [to enter into the DRA] is ludicrous, since the information he needs is entirely within his

own control.” (Id. at 5.) Swain appealed to the Second Circuit on jurisdictional grounds. (Ex.

I.)

       In light of Judge McMahon’s order, on September 22, 2016, Hermès filed a motion to

dismiss the pending New Jersey action. (Ex. J.) The motion was heard during the pendency of

the Second Circuit appeal. At argument before the New Jersey Superior Court, Judge Francine

Schott asked Swain’s counsel, “[Why]… isn’t your client in contempt for not doing what [the

federal judge] told him to do [i.e. drop the state court case and bring his claims in arbitration]?”

(Ex. K, p. 4.) The judge then told Swain’s counsel directly and plainly what the consequence of

a Second Circuit affirmance would be: “You’re done. You can’t come here and proceed against

Hermès and have a jury and all the rest of it because the federal court has told you, you have to

go to arbitration.” (Id. at 5.) On November 18, 2016, the New Jersey Superior Court dismissed

the state court action, without prejudice to its re-filing only if the Second Circuit reversed the

order compelling arbitration. (Ex. L.)

       On August 14, 2017, the Second Circuit affirmed. (Ex. M.) For the next seven months,

Swain took no action to pursue his claims in arbitration. However, on March 9, 2018, he moved

to reinstate his long-dismissed New Jersey state court complaint on the ground that Hermès

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breached the DRA because, he argued, as the party that sought arbitration, Hermès was required

to commence an arbitration, even though the dispute at issue involved solely Swain’s claims

against Hermès. (Ex. N.) Swain argued further that because Hermès had not filed for arbitration

within the DRP’s time limit (which Swain argued was six months for all of his claims), it

breached its obligations under the DRP, rendering the DRP unenforceable. Id.

       At oral argument before Judge Keith E. Lynott of the New Jersey Superior Court, the

DRA’s contractual limitations period was a subject of considerable discussion between the court

and Swain’s counsel, Christopher Hager. (Ex. O.) Hager argued that Hermès had already

missed the DRA’s filing deadline and was therefore precluded from proceeding in arbitration:

                     MR. HAGER: *** This contract was written by Hermes. I
              don’t even know if there’s AAA, you know boiler plate forms that
              say six months to file an arbitration. I don’t know the answer.
              That’s not part of the record. This is a contract analysis. And the
              six-month period is what we look at. *** Six months it couldn’t be
              more clear, Your Honor. That’s what’s in the contract.

                      THE COURT: Well but I’m making a slightly different
              point. And that is that given that there’s this time limit, your
              argument is that it was really incumbent on them [Hermès] to
              initiate…. [I]f they don’t do it within the time, then what you’re
              saying is that means they’re out of luck in terms of their ability to
              pursue an arbitration.

                      MR. HAGER: Right.

                      THE COURT: But a time limit is normally imposed in a
              contract to burden the party that’s affected by it. In other words,
              isn’t the idea that there’s a time limit here within which an
              arbitration can be initiated, isn’t that more consistent with the idea
              that the party that’s burdened by that time limit that’s seeking the
              relief against its opponent would have the obligation to take the
              action to initiate the proceeding?

                    MR. HAGER: I think I get where Your Honor’s coming
              from. What I think you’re saying is that the six months would
              somehow be applied to Matthew [Swain]?

                      THE COURT: Yeah, I mean it’s more consistent with the
              idea that… [y]our client is the party seeking the relief….
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                       MR. HAGER: I understand, Your Honor. I don’t agree with
               that.

                                                ***

                       MR. HAGER: *** So I respectfully say that that time limit
               is a time limit on Hermes. Just like any, like if you look at a statute
               of limitations, you want to use an analogy, is that it would be my
               burden as the plaintiff’s attorney to get that case filed within two
               years.

                      THE COURT: That’s sort of my point. You’re the one
               who’s burdened. The defendant isn’t burdened by a statute.

                       MR. HAGER: Because we didn’t initiate, petition and force
               arbitration. And the arbitration initiation within six months it’s on
               Hermes, it’s their contract. This is not a statute of limitations. This
               is an initiation limitation, if you want to call it that, that’s in their
               contract that they have to live up to. So respectfully that, that is
               right. I think that that six-month is exactly the deadline. And again,
               we’re at 20 months out right now. So, you know, we’re at a multiple
               of that….

                                                ***

                        THE COURT: Do you agree at this point that the time is, I
               mean if, and I underline the word if I were to determine that you
               can’t reinstate your action, determine you were required, or are
               required to initiate an arbitration, are you unable to do that at this
               point? Or are you arguing, or will you argue that there’s some kind
               of a tolling that took place during the pendency of the federal
               litigation?

                      MR. HAGER: I’m not aware of any, Your Honor. I’m not
               aware of any.

(Ex. O, Tr. 13:18-18:2.)

       Judge Lynott rejected Swain’s arguments, stating in a lengthy written decision that

“[e]even to summarize Swain’s position is to reveal its inherent legal and logical flaws.” (Ex. P,

p. Pa014.) The court concluded that “there is no reason in law or logic to read th[e] text [of the

DRA] in a manner that would impose upon the party – Hermès in the circumstances here – that is

not seeking any relief or remedy against the other an affirmative obligation to initiate an


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arbitration….” (Id.) The court noted that the anachronistic result of the construction urged by

Swain would be “to require Hermès to initiate an action against itself.” (Id.)

       Swain was undaunted by the Superior Court’s resounding rejection of his attempt to

resuscitate his state court action and appealed the decision. But, the Appellate Division also

rebuffed Swain’s efforts to avoid arbitration. First, the appellate panel observed that Swain

“challenges the enforceability of the DR[A], even though he did not do that in New York

[federal court].” (Ex. Q, p. 6.) Then, the court stated flatly that “the question of which party was

arguably obligated to initiate the arbitration is a red herring because the federal court compelled

it.” (Id. at 11.) The Appellate Division found the District Court’s September 2016 order

compelling arbitration to be conclusive and therefore held that the Superior Court’s refusal to

reinstate the complaint was entirely proper. (Id. at 13.)

       This arbitration followed – 1,266 days (3 years and 5 months) after Swain’s employment

at Hermès ended. Swain has not filed a Demand for Arbitration; instead he simply filed with the

AAA the state court complaint that was dismissed on November 18, 2016.

                                           ARGUMENT

    I. THIS ARBITRATION IS BARRED BY THE CONTRACTUAL
       LIMITATIONS PERIOD IN THE DRA

       Rule 27 of the AAA’s Employment Arbitration Rules and Mediation Procedures provides

that “the arbitrator may allow the filing of a dispositive motion if the arbitrator determines that

the moving party has shown substantial cause that the motion is

likely to succeed and dispose of or narrow the issues in the case.” For the reasons stated below,

Respondents’ motion is not only meritorious, but will dispose of the entire action. As confirmed

by the two trial courts and two appellate courts before whom the parties have appeared, Swain’s

claims should have been brought in arbitration nearly four years ago. His failure to do that, or to


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take any steps to preserve his arbitral rights while making baseless claims in pursuit of his “NJ

constitutional right to a jury trial,” has rendered his claims time-barred.

       Four courts have already concluded, without a dissenting voice, that Swain is bound by

the terms of the DRA and any contractual requirements contained within it. New York law

applies to the DRA. Under New York law, “[i]t is well settled that parties may contractually

agree to shorten the applicable period of limitations.” Rudin v. Disanza, 202 A.D. 2d 202, 203

(1st Dep’t 1994); see John J. Kassner & Co. v. City of New York, 46 N.Y. 2d 544, 551 (1979)

(“[A]n agreement which modifies the Statute of Limitations by specifying a shorter, but

reasonable, period within which to commence an action is enforceable provided it is in

writing.”); Hunt v. Raymour & Flanigan, 105 A.D. 3d 1005, 1006-07, 963 N.Y.S. 2d 722 (2d

Dep’t 2013) (enforcing six-month contractual limitations period, and dismissing claims under the

New York State and New York City Human Rights Laws for discrimination and retaliation); Top

Quality Wood Work Corp. v. City of New York, 191 A.D. 2d 264 (1st Dep’t 1993) (“Six-month

periods of limitation, identical to that here, have been upheld.”). Here, the parties agreed that

any claim in arbitration must be initiated within six months, except for claims brought under a

law with its own alternate filing period, in which event the arbitration filing deadline would be

set with reference to that statutory filing period. Swain accepts the binding force of the DRA’s

“initiation period” and agrees that a party which fails to timely file his or its claims in arbitration

is “out of luck.” (Ex. O, Tr. 14:12-17, 16:22-17:6.)

       Swain’s five-count complaint sets forth two distinct claims: a claim against Hermès for

breach of contract and claims against Hermès and Bautista for various violations of the NJLAD.

The breach of contract claim does not “arise under a law that provides an alternate filing period.”

That claim therefore must have been filed in arbitration within six months of its accrual. It was

not.

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        The NJLAD claims are brought under “a law that provides an alternate filing period.”

That period is two years. N.J.S.A. 2A:14-2(a). Because Swain’s NJLAD claims were not filed

within two years, his NJLAD claims must be dismissed.

        Swain never had any intention of meeting these deadlines. Having signed a DRA that

provides for a default six-month filing deadline, and believing at all times that the governing

“initiation period” is six months for all his claims (as his counsel has always argued), Swain did

not even notify Hermès that he was prepared to assert claims against Hermès until eight months

after the separation of his employment from Hermès.

            A. Swain’s Claims Cannot Be Saved By Tolling or Equitable Estoppel

        Because the applicable filing deadlines are contractual, Swain may not avail himself of

any applicable tolling doctrine (of which there is none, in any event). Aaron v. Deloitte Tax

LLP, 149 A.D. 3d 580, 581, 50 N.Y.S. 2d 279 (1st Dep’t 2017) (“Plaintiffs may not avail

themselves of the continuous representation tolling doctrine because the limitations period was

contractual, not statutory, and was reasonable.”) (See also Ex. O, Tr. 16:23-17:4: “MR.

HAGER: *** And the arbitration initiation within six months is on Hermes, it’s their contract.

This is not a statute of limitations. This is an initiation limitation, if you want to call it that,

that’s in their contract that they have to live up to”; Tr. 17:23-18:2: THE COURT: *** [A]re

you arguing, or will you argue that there’s some kind of a tolling that took place during the

pendency of the federal litigation? MR. HAGER: I’m not aware of any, Your Honor. I’m not

aware of any.”) Therefore, each of Swain’s claims is time-barred and must be dismissed.

        Even if the DRA’s limitations period were somehow deemed statutory, rather than

contractual, Swain’s untimely filing would not be saved by any sort of tolling. Under New York

law, limitations periods are strictly construed: “An action… must be commenced within the time

period specified in this article…. No court shall extend the time limited by law for the

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commencement of an action.” N.Y.C.P.L.R. § 201 (McKinney 2003). Thus, in New York, the

courts are “without authority to extend the applicable Statute of Limitations.” Magat v. County

of Rockland, 265 A.D. 2d 483, 484 697 N.Y.S. 2d 114 (2d Dep’t 1999) (affirming dismissal of

proceeding commenced one day too late). “The statute of limitations is ‘not subject to

discretionary judicial extension no matter how good the reasons for delay may be.’” Evans v.

Hawker-Siddeley Aviation, Ltd., 482 F. Supp. 547, 550 (S.D.N.Y. 1979), quoting Siegel, N.Y.

Practice § 34 (1978) (court is without authority to extend limitations period by even one day).

       While New York has codified several tolling rules developed at common law (e.g.

infancy, insanity), except for these narrowly-constrained and specifically articulated statutory

tolls, New York law provides no authority to toll a limitations period, even “during a period in

which a litigant pursues” related litigation in court. Board of Regents v. Tomanio, 446 U.S. 478,

486 (1980).

       Neither can Swain argue that Hermès is estopped from asserting a limitations bar by

virtue of some misconduct on its part. As a threshold matter, the parties agree that the

limitations period here is contractual and fixed and is not based upon a statute of limitations

defense that must be plead and is subject to equitable estoppel. In any event, under New York

law, “a defendant is estopped from pleading a statute of limitations defense [only] if the ‘plaintiff

was induced by fraud, misrepresentation or deception to refrain from filing a timely action’.”

Ross v. Louise Wise Services, Inc., 8 N.Y. 3d 478, 491, 836 N.Y.S 2d 509, 517-18 (2007). The

New York courts have characterized equitable estoppel as “uncommon,” Ross, 8 N.Y. 3d at 491,

836 N.Y.S. 2d at 518, and limited to “extraordinary circumstances,” Levy v. Aaron Faber, Inc.,

148 F.R.D. 114, 119 (S.D.N.Y. 1993). The U.S. Supreme Court has said that it is “a rare remedy

to be applied in unusual circumstances, not a cure-all for an entirely common state of affairs.”

Wallace v. Kato, 549 U.S. 384, 396, (2007). Here, the remedy has no application since Hermès

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cautioned Swain that he must proceed in arbitration since Day One, immediately sending his

counsel a copy of the DRA to be sure there was no misunderstanding. Hagan v. Katz Comms.,

Inc., 200 F.Supp. 3d 435 (S.D.N.Y 2016) (confirming arbitration award dismissing claims on

statute of limitations ground where respondent’s conduct was not the cause of claimant’s failure

to timely file for arbitration). Swain has never alleged that he was misled by Hermès into

sleeping on his rights. Nor could he; when Swain refused to honor his commitment to arbitrate

disputes with Hermès, Hermès took the matter into its own hands and petitioned the U.S. District

Court to compel Swain to arbitrate.

       Finally, Swain cannot benefit from having filed a court complaint in New Jersey in

derogation of his clear obligation to arbitrate any disputes with Hermès under the DRA. The

mere filing of a suit, which is subsequently dismissed, does not serve to toll the applicable filing

period. Copeland v. Rosen, 25 Fed. App’x 17, 19 (2d Cir. 2001) (“the timely filing of a

complaint does not suspend the limitations period”); Ocasio v. Fashion Institute of Technology, 9

Fed. App’x 66, 68-69 (2d Cir. 2001) (initial action dismissed without prejudice did not extend

time to file second action); Minnette v. Time Warner, 997 F.2d 1023, 1027 (2d Cir. 1993) (“In

instances where a complaint is timely filed and later dismissed, the timely filing of the complaint

does not ‘toll’ or suspend the… limitations period.”); Gibbs v. Imagimed, LLC, No. 11 Civ.

2949, 2013 WL 2372265, at *3 (S.D.N.Y. May 30, 2013) (“a dismissal of the Amended

Complaint, even without prejudice, would likely render any subsequent action… time-

barred….); Lubin v. Board of Educ. Of City of N.Y., 60 N.Y. 2d 974, 976 (1983) (filing of a

proceeding not available to plaintiff does not serve to toll the statute of limitations); Mitchell v.

Essex County Sheriff’s Office, 302 A.D. 2d 732, 755 (3d Dep’t 2003) (same).

       Thus, Swain’s filing of an action in the wrong forum – the Superior Court in New Jersey

– when he contracted to bring all disputes before a AAA arbitrator in New York, does not serve

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to revive his time-barred arbitration. The reactions to that filing by the various courts that have

reviewed it suggest that Swain’s decision to file it was utterly devoid of reason or merit. The

federal court found that Swain breached the DRA by filing in court and characterized at least one

of his arguments against proceeding in arbitration as “ludicrous.” Superior Court Judge Schott

questioned why Swain should not be held in contempt for maintaining the Superior Court action

after his dispute was compelled to arbitration. Upon Swain’s motion to reinstate, Superior Court

Judge Lynott said he found “no reason in law nor logic” to grant the motion. And the Appellate

Division found Swain’s central argument to reinstate “a red herring.” An improperly filed action

does not serve to delay a filing period; all the more so when there was no basis for the selected

venue to begin with.

           B. Swain’s Claims Are Time-Barred Even If Tolled

       Even assuming, arguendo, that Swain’s New Jersey state court action somehow

suspended the running of the “initiation period,” it would not convert Swain’s untimely Demand

for Arbitration to a timely one because that court action existed for a total of only four months

before it was dismissed. The action was filed on July 19, 2016 and was dismissed on November

18, 2016. Swain’s breach of contract claim was time-barred before the Superior Court action

was even filed. As for Swain’s NJLAD claims, excluding four months from the period between

November 6, 2015 and April 6, 2019 (a period of three years and five months) does not help him

satisfy the two-year NJLAD limitations period by which the DRA measures the timeliness of

claims under the NJLAD.

   II. DISMISSAL AT THIS STAGE IS APPROPRIATE AND WARRANTED
       UNDER THE FACTS AND RELEVANT LAW

       Under the FAA and governing principles of New York law, the arbitrator is empowered

to determine whether the claims made are barred by the contractual limitations period. Under the


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FAA, the “presumption is that the arbitrator should decide ‘allegation[s] of waiver, delay, or a

like defense to arbitrability.” Howsam v. Dean Witter Reynolds, Inc., 537 U.S. 79, 84 (2002)

(citation omitted). Questions concerning “whether prerequisites such as time limits…have been

met, are [generally] for the arbitrators to decide.” Id. at 85 (citation omitted). See Hagan, 200 F.

Supp. 3d at 439-46 (confirming arbitral award dismissing discrimination claims for failure to

comply with implied limitations period); Goldman, Sachs & Co. v. Griffin, No. 07 Civ. 1313,

2007 U.S. Dist. LEXIS 36674, *8-10 (S.D.N.Y. May 16, 2007) (arbitrator should decide statute

of limitations issues under arbitration agreement providing that “this agreement and its

enforcement shall be governed by the laws of the State of New York”); Diamond Waterproofing

Sys. v. 55 Liberty Owners Corp., 4 N.Y. 3d 247, at 250, 793 N.Y.S. 2d 831 (2005) (arbitrator

should decide timeliness issues under arbitration agreement with New York choice of law

clause).

       The lengthy and well-developed record in this matter supports the dismissal of all claims

for breach of the DRA’s contractual time limits at this time and at this stage of the arbitration.

Dismissal is warranted on a motion to dismiss when “the documentary evidence submitted

conclusively establishes a defense to the asserted claims as a matter of law.” Leon v. Martinez,

54 N.Y. 2d 83, 88 (1994); Hunt, 105 A.D. 3d at 1006-07 (dismissing statutory discrimination

claims because agreement between parties specified shortened limitations period and record

clearly demonstrated untimely filing).

       Here, the proof that Swain’s claims are barred is simple and irrefutable: he alleges in his

complaint that he was fired on November 6, 2015 and he commenced this arbitration on April

26, 2019 – almost 3.5 years later. The respective limitations periods applicable to his claims are

six months and two years. All of Swain’s claims are barred.



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                                         CONCLUSION

       When Swain believed that Hermès was contractually obligated to file for arbitration

“against itself,” he was only too happy to say that “six month[s] is exactly the deadline” and

since “that is a time limit on Hermès,” the company was “out of luck.” Without the benefit of

any explanation for filing a manifestly and admittedly time-barred proceeding, and despite the

passage of yet another year since Swain’s counsel made those remarks, Swain now wishes to

proceed in arbitration as if the contractual time limits do not exist. He cannot have it both ways.

Swain expended three and a half years -- more than 10 times the duration of his employment --

fighting against bringing his claims in arbitration. During that time the “initiation limitation”

expired. While he may be unhappy to be left with no remedy, any injury he has suffered was

self-inflicted. This arbitration should be dismissed.

 Dated: August 5, 2019                             PROSKAUER ROSE LLP

                                            BY: s/ Lawrence R. Sandak
                                                Lawrence R. Sandak
                                                Edna D. Guerrasio
                                                One Newark Center, 18th Floor
                                                Newark, New Jersey 07102
                                                lsandak@proskauer.com
                                                eguerrasio@proskauer.com
                                                T: (973) 274-3200




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                               CERTIFICATE OF SERVICE

       I hereby certify that on August 5, 2019, I caused to be served the foregoing Memorandum

of Law in Support of Respondents’ Motion to Dismiss on the following individuals via e-mail

and overnight delivery:

                                 Christopher W. Hager, Esq.
                                      Hager Law, LLC
                                55 Madison Avenue, Suite 400
                                    Morristown, NJ 07960
                                      T: (201) 452-7931
                                   chager@njhagerlaw.com
                                    Attorney for Claimant


                                                  /s/   Lawrence R. Sandak
                                                        Lawrence R. Sandak




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